                      UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF NORTH CAROLINA
                     DOCKET NO. 1:20-CV-00954-WO-JLW

 FARHAD AZIMA                                )
           Plaintiff                         )
 vs.                                         )
                                             )
 NICHOLAS DEL ROSSO AND                      )   MOTION PURSUANT TO COURT’S
 VITAL MANAGEMENT SERVICES,                  )      AUGUST 31, 2023 ORDER
 INC.,                                       )
                                             )
                 Defendants.                 )



       NOW COMES Non-Party Witnesses Christopher Swecker and Christopher

Swecker Enterprises, LLC (“Swecker”), by and through undersigned counsel, and hereby

files this motion of information with the Court pursuant to its Order issued on August 31,

2023. In support of this, Swecker offers the following:

           1. Pursuant to its August 31, 2023 order this court has scheduled a status

conference for September 29, 2023 on several pending motions before the court.

           2. At least one of the pending motions, Doc. 251, is that of witness Swecker

filed on August 8, 2023.

           3. Undersigned counsel and his colleague, Nana Asante-Smith, have

represented Swecker since entering appearances their behalf on August 7, 2023.

           4. Undersigned counsel has a preplanned and prepaid Canadian train trip from

September 18 through September 28, 2023. It is anticipated that if all flights to and from

Canada are not delayed or cancelled that undersigned counsel will be able to attend the


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scheduled September 29, 2023 status conference set by this court. However, if travel is

delayed counsel needs to inform the court that his absence would not be purposeful and

that he is not intentionally missing the status conference without previously notifying the

court of this unanticipated possibility.

           5. Undersigned counsel’s colleague will also be in attendance at the September

29, 2023 status conference hearing.

           6. Undersigned counsel has informed counsel for Plaintiff Azima of his travel

plans and assures this court that he will confer with opposing counsel prior to the

September 29, 2023 status hearing to attempt to resolve any issues arising from the motion

filed on behalf of Swecker on August 8, 2023.

       WHEREFORE, Swecker respectfully informs this Court of his counsel’s travel

plans and also his counsel’s intention to confer with opposing counsel pursuant to its

August 31, 2023 Order.

                 Respectfully submitted this 5th day of September, 2023.

                                     s/ Richard S. Glaser
                                     Richard S. Glaser, NCSB#: 13998
                                     Nana Asante-Smith, NCSB#: 51569
                                     PARKER POE ADAMS & BERNSTEIN LLP
                                     620 S. Tryon St., Suite 800
                                     Charlotte, NC 28202
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                                     Counsel for Non-Party Witnesses Christopher Swecker
                                     & Christopher Swecker Enterprises, LLC




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                         CERTIFICATE OF SERVICE

       I hereby certify that on September 5th, 2023, I caused the foregoing to be
electronically filed with the Clerk of the Court using CM/ECF system, which sent
notification of filing to all attorneys of record.

                                             /s/ Richard S. Glaser
                                             Richard S. Glaser




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